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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION
                                                                           Dismissal with prejudice
                                                                           acknowledged [26].
   TORI R. MORGAN,                                            )
                                                                           The Clerk shall close this case.
                                                              )
                  Plaintiff,                                  )            JMS, DJ 4/3/25
          v.                                                  )            Distribution via ECF
                                                              )    Cause No. 1:24-cv-01655-JMS-MG
   ANDERSON UNIVERSITY,                                       )
                                                              )
                  Defendant.                                  )
                                                              )

                               JOINT STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Tori R.

  Morgan and Defendant Anderson University, Inc., by their respective counsel, respectfully file

  this joint stipulation of dismissal, and stipulate that the above-captioned cause be dismissed in its

  entirety, with prejudice, each party bearing their own fees and costs.

         Respectfully submitted,

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